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United States District Court

 

 

CENTRAL DISTRICT OF CALIFORNIA
In the Matter of the Seizure of
(Ad¢lress or Briefdescrip¢ion ofproperty or premises to be seized) SEIZ[IRE WARRANT
One 2014 Mercedes Benz, California
License 7SBW151; CASE NUlVlBER: 8:18-MJ-00645

VIN: WDDHFOEB2EA876734.

TOZ The Federal Bureau of lnvestigation and any Authorized Offlcer of the United States, Affidavit(s) having been made before
me by St_)ecial Agent Jessie T. Murray who has reason to believe that in the Central District of California there is now certain property
which is subject to forfeiture to the United States, namely (describe the property to be seized)

One 2014 Mercedes Benz, California License 7SBW151; VIN: WDDHFOEB2EA876734

Which is (atate one or more bases for seizure under United States Corle)

subject to seizure and forfeiture under 18 U.S.C. § 981(b) and 18 U.S.C. § 981(a)(1)(C)

concerning a violation of Title 21 United States Code, Section(s) 1343. 1956(0)(7)(A) and 1961(1).

I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is subject
to seizure and that grounds exist for the issuance of this seizure warrant.

YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in the
daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written inventory
of the property seized and promptly return this warrant through a filing with the Clerk’s Office. The recipient of this Warrant is HEREBY
COMMANDED to comply with the duties and obligations set out above.

i 9 /i Q/| 8 CT\ H: \S ibm Santa Ana. California

Date and Time Issued City and S

Honorable Karen E. Scott U. S. Ma istrate Jud e / M g (S(/d§L

Name and Title of Judicial Officer Signatul’e of Ju({icial Officer

 

AUSA Brent A. Whittlesey:ame

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RETURN

DATE WARRANT RECEIVED DATE AND T]]VIE WARRANT EXECU'I'ED COPY OF WARRANT AND RECEIPT FOR ITEMS LEFT

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lNVENTORY MADE IN THE PRESENCE OF

 

 

CERTlFICATION

 

1 declare under penalty of perjury that I am an ojicer who executed this warrant and that this inventory is correct and will be
returned through a filing with the Clerk’s Ojjice.

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Printed Name and Title/ /

 

 

